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                                                   Plaintiff’s Exhibit List
                                                       Hyatt v. Matal
                                                        05-cv-2310

                                                                               RECEIVED
  EXHIBIT                        DESCRIPTION OF                  MARKED
                   DATE                                                             IN     OBJECTION    WITNESS
    NO.                             EXHIBITS                     FOR I.D.
                                                                               EVIDENCE
                            Application File History for                        10/13/2017
                                                                 10/11/2017
 Pl's. Ex. 001     N/A      08/456,398 (09-1864) (Hyatt                          (Laches                Greg Morse
                                                                (Laches Trial)
                            Docket No. 717)                                       Trial)
                            Administrative File History Joint
Pl's. Ex. 001A     N/A      Appendix for 08/456,398 (09-
                            1864) (Hyatt Docket No. 717)
                            Application File History for                       10/12/2017
                                                               10/12/2017
 Pl's. Ex. 002     N/A      08/472,062 (09-1869) (Hyatt                         (Laches                 Greg Morse
                                                              (Laches Trial)
                            Docket No. 524)                                      Trial)
                            Application File History for                       10/13/2017
                                                               10/13/2017
 Pl's. Ex. 003     N/A      08/431,639 (09-1872) (Hyatt                         (Laches                Stephen Kunin
                                                              (Laches Trial)
                            Docket No. 601)                                      Trial)
                            Administrative File History Joint
Pl's. Ex. 003A     N/A      Appendix for 08/431,639 (09-
                            1872) (Hyatt Docket No. 601)
                            Application File History for                       10/13/2017
                                                               10/11/2017
 Pl's. Ex. 004     N/A      08/457,211 (05-2310) (Hyatt                         (Laches                 Greg Morse
                                                              (Laches Trial)
                            Docket No. 708)                                      Trial)
                            Administrative File History Joint
Pl's. Ex. 004A     N/A      Appendix for 08/457,211 (05-
                            2310) (Hyatt Docket No. 708)

 Pl's. Ex. 014     N/A      Images of Experimental System

                            Material submitted to PTO
Pl's. Ex. 200(a)            Pursuant to its Disclosure
                   N/A                                           12/4/2017     12/4/2017               Gilbert Hyatt
     and (b)                Document Program
                            (Videotapes)
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                                                   Plaintiff’s Exhibit List
                                                       Hyatt v. Matal
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EXHIBIT                          DESCRIPTION OF                     MARKED
                 DATE                                                              IN    OBJECTION   WITNESS
  NO.                               EXHIBITS                        FOR I.D.
                                                                                EVIDENCE
                            Experimental systems and
                            videotapes for '211 patent
                            application, '398 application,
                            '639 application, and '062
                            application (disclosed by Hyatt
Pl's. Ex. 332     N/A                                               12/4/2017   12/4/2017            Gilbert Hyatt
                            in connection with his initial
                            disclosures)



                            Excerpts of three books listed on
                            pp. 575-76 of '211 App. (The
Pl's Ex. 800      N/A       CP/M Handbook with MP/M;
                            FX Printer Operation Manual;
                            and The BASIC Handbook)
                            Expert Report of Mr. Hite (09-
Pl's Ex. 801    6/3/2013    1872) (Hyatt Dkt. 601, '639
                            App.)
                            Expert Report of Dr. Castleman
Pl's Ex. 802    8/15/2013   (09-1872) (Hyatt Dkt. 601, '639
                            App.)
                            Supp. Expert Report of Mr. Hite
Pl's Ex. 803    9/16/2013   (09-1872) (Hyatt Dkt. 601, '639
                            App.)
                            Expert Report of Mr. Hite (05-
Pl's Ex. 804    11/1/2012   2310) (Hyatt Dkt. 708, '211
                            App.)




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                                                 Plaintiff’s Exhibit List
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EXHIBIT                          DESCRIPTION OF                 MARKED
                 DATE                                                          IN    OBJECTION      WITNESS
  NO.                               EXHIBITS                    FOR I.D.
                                                                            EVIDENCE
                          Expert Report of Dr. Castleman
                                                                                                      Kenneth
Pl's Ex. 805    1/3/2013  (05-2310) (Hyatt Dkt. 708, '211       1/19/2018
                                                                                                     Castleman
                          App.)
                          Supp. Expert Report of Mr. Hite
Pl's Ex. 806    2/1/2013 (05-2310) (Hyatt Dkt. 708, '211        1/18/2018                            Brad Hite
                          App.)
                          Expert Report of Mr. Hite (05-
Pl's Ex. 807   11/4/2013 2310) (Hyatt Dkt. 717, '398
                          App.)
                          Expert Report of Dr. Castleman
Pl's Ex. 808   12/13/2013 (05-2310) (Hyatt Dkt. 717, '398
                          App.)
                          Supp. Expert Report of Mr. Hite
Pl's Ex. 809   1/10/2014 (05-2310) (Hyatt Dkt. 717, '398
                          App.)
                            Disclosure Document No.
Pl's Ex. 810   3/19/1984
                            126,823

                            Disclosure Document No.
Pl's Ex. 811   4/26/1984
                            126,825

                            Disclosure Document No.
Pl's Ex. 812    6/4/1984
                            127,956

                            Disclosure Document No.
Pl's Ex. 813   10/17/1984                                       12/4/2017   12/4/2017   Overruled   Gilbert Hyatt
                            131,747
                            Disclosure Document No.
Pl's Ex. 814   9/19/1988
                            210,594


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                                                   Plaintiff’s Exhibit List
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                                                        05-cv-2310

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 EXHIBIT                          DESCRIPTION OF                  MARKED
                 DATE                                                            IN    OBJECTION   WITNESS
   NO.                               EXHIBITS                     FOR I.D.
                                                                              EVIDENCE
                             Serial No. 05/550,231 (Hyatt
Pl's Ex. 815    2/14/1975
                             Dkt. 128)

                             Serial No. 05/730,756 (Hyatt
Pl's Ex. 816    10/7/1976
                             Dkt. 131)

                             Serial No. 05/844,765 (Hyatt
Pl's Ex. 817    10/25/1977
                             Dkt. 143)

                             Serial No. 05/849,812 (Hyatt
Pl's Ex. 818    11/9/1977
                             Dkt. 145)

Pl’s Ex. 900       N/A       Popular Science Photograph

                             PowerPoint Presentation (Hyatt
Pl.’s Ex. 901      N/A
                             Testimony)
                             Photographs of Experimental
Pl.’s Ex. 902      N/A       System Taken from In-Court
                             review (Square Board)
                             Photographs of Experimental
Pl.’s Ex. 903      N/A       System Taken from In-Court
                             review (Rectangular Board)

Pl.’s Ex. 905                U.S. Patent No. 4,210,419


Pl.’s Ex. 906                U.S. Patent No. 4,309,691



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                                                        Plaintiff’s Exhibit List
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   EXHIBIT                            DESCRIPTION OF                   MARKED
                     DATE                                                              IN    OBJECTION                   WITNESS
     NO.                                 EXHIBITS                      FOR I.D.
                                                                                    EVIDENCE

  Pl.’s Ex. 907                 U.S. Patent No. US 7,236,623 B

                                Gilbert Hyatt Direct
  Pl.’s Ex. 910       N/A                                              12/4/2017                                         Gilbert Hyatt
                                Examination PowerPoint

                                Brad Hite Direct Examination
  Pl.’s Ex. 912       N/A                                              12/5/2017                                          Brad Hite
                                PowerPoint

                                Castleman Digital Image                                                                    Kenneth
  Pl.’s Ex. 913       N/A                                              1/19/2018
                                Processing (First Edition)                                                                Castleman
                                                                                                        Court
                                The TTL Data Book, Volume 3,
  Pl.’s Ex. 914       1984                                             1/19/2018                       Reserves          Gilbert Hyatt
                                Texas Instruments
                                                                                                        Ruling




Note: Plaintiff’s Exhibits 14, 332, 813, 900, 902, and 903 were admitted into evidence during the trial in 09-cv-1872.




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